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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of         )
herself and others similarly situated, et al., )
                                               )         No. 17-cv-02122-TSC
                       Plaintiffs,             )
 v.                                            )
                                               )
ERIC D. HARGAN, et al.,                        )
                                               )
                       Defendants.             )
                                               )

PLAINTIFFS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION FOR PROVISIONAL
                    CLASS CERTIFICATION AND NOTICE

          Plaintiffs file this reply to Defendants’ Response to Plaintiffs’ Motion for Provisional

Class Certification and Notice (ECF No. 98) to make two points.

          First, despite Defendants’ suggestion to the contrary, the option of provisional class

certification is alive and well, see, e.g., R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 179-80 (D.D.C.

2015), and Plaintiffs satisfy all the requirements for provisional class certification and class

certification. See ECF Nos. 18 and 56. Moreover, the class representatives’ claims for

injunctive relief against Defendants’ no-abortion policy fall within well-established mootness

exceptions. See ECF No. 56. As to the new minors identified, Ms. Roe is an adequate class

representative, 1 and Ms. Poe is a member of the putative class. Defendants point to distinctions

in Ms. Roe’s and Ms. Poe’s factual circumstances, and to a variety of factual distinctions among

different members of the putative class, but none of these differences affects commonality or

typicality. Indeed, Defendant Lloyd’s refusal to allow Jane Poe to obtain an abortion—despite

the fact that her pregnancy was a result of rape, that she threatened to harm herself if she could


1
    Plaintiffs dispute that Ms. Roe is 19 years old; instead, she maintains that she is 17 years old.
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not obtain an abortion, and that her mother and potential sponsor threatened to beat her if she had

an abortion—makes unmistakably clear that ORR has adopted a blanket no-abortion policy

applicable in all circumstances. 2 A decision striking down that policy will free all class members

from Defendants’ unconstitutional restraint. 3

         Second, Defendants’ extraordinary claim that Plaintiffs’ counsel should be prohibited

from contacting minors flies in the face of legal requirements ensuring that unaccompanied

minors be allowed access to counsel. Indeed, 8 U.S.C. § 1232(c)(5) explicitly states that

Defendants “shall ensure… that all unaccompanied alien children who are or have been in the

custody of the Secretary of Homeland Security [who are not from contiguous countries] . . . have

counsel to represent them in legal proceedings or matters to protect them from mistreatment.”

Moreover, the Flores settlement agreement requires ORR and its funded shelters to provide or

arrange for legal services information. Flores v. Reno, No. 85-cv-4544, Ex. 1 (C.D. Cal. Jan. 17,

1997).

         Defendants are not only imposing a blatantly unconstitutional policy on a marginalized

population to deny them access to abortion, but they are also seeking to prevent these minors

from accessing counsel to vindicate their constitutional rights. Plaintiffs’ counsel fortunately

found Ms. Roe and Ms. Poe after receiving anonymous tips. Absent Plaintiffs’ counsel and this

Court’s intervention, both young women would have likely been forced to carry their

pregnancies to term against their will. Ms. Roe’s and Ms. Poe’s cases highlight the problem of

minors in the putative class who seek abortion but who will be prevented from accessing

2
 The only possible exception appears to be when a minor’s life would be threatened by
continuation of the pregnancy.
3
 Contrary to Defendants’ claim, Defs.’ Resp. at 7 n.4, a minor without a parent, guardian, or
guardian ad litem may be a plaintiff under the plain text of Federal Rule of Civil Procedure
17(c)(2), as long as the court issues an order to protect the minor.
                                                 2
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abortion because of Defendants’ no-abortion policy unless Plaintiffs’ motion for preliminary

class certification, or provision class certification, and notice is granted.



Date: January 9, 2017                           Respectfully submitted,

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